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1    GARY M. RESTAINO
     United States Attorney
2    District of Arizona
3    TODD KIM
     Assistant Attorney General
4    Environment & Natural Resources Division
     U.S. Department of Justice
5    ANDREW A. SMITH (NM Bar No. 8341)
     Senior Trial Attorney
6    Natural Resources Section
     c/o United States Attorney’s Office
7    201 Third Street N.W., Suite 900
     P.O. Box 607
8    Albuquerque, New Mexico 87103
     Phone: (505) 224-1468
9    andrew.smith@usdoj.gov

10   Attorneys for the United States (additional counsel on signature page)

11
                        IN THE UNITED STATES DISTRICT COURT
12
13                            FOR THE DISTRICT OF ARIZONA

14
                                                      )
15   United States of America,                        )
16                                                    ) No. CV-22-02107-PHX-SMB
                         Plaintiff,                   )
17         v.                                         ) STIPULATION
18                                                    )
     Douglas A. Ducey, in his official capacity as    )
19   Governor of the State of Arizona; the State      )
     of Arizona; the Arizona Department of            )
20   Emergency and Military Affairs; Kerry L.         )
21   Muehlenbeck, in her official capacity as         )
     Adjutant General, Arizona Department of          )
22   Emergency and Military Affairs; and Allen        )
23   Clark, in his official capacity as Director of   )
     the Arizona Division of Emergency                )
24   Management, Arizona Department of                )
     Emergency and Military Affairs,                  )
25                                                    )
26                       Defendants.                  )

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1           This Stipulation is entered into by and between Plaintiff United States of America
2    and Defendants Douglas A. Ducey, Governor of the State of Arizona, et al. (hereinafter
3    “Arizona”) to avoid the United States moving for an immediate temporary restraining
4    order and/or preliminary injunction.
5           NOW, THEREFORE, IT IS AGREED BY AND BETWEEN THE PARTIES,
6    BY AND THROUGH UNDERSIGNED COUNSEL, AS FOLLOWS:
7           1.     Arizona agrees to maintain its cessation of activity on National Forest
8    System lands within the Coronado National Forest for any purpose relating to installing
9    shipping containers along the international border (where “installing” includes, but is not
10   limited to, movement of equipment, staging, roadwork, welding, and installation of
11   concertina wire). In moving shipping containers, equipment, and construction materials
12   to cease its installation activities, Arizona will confer with representatives from the U.S.
13   Forest Service for safety purposes and to avoid and minimize damage to the United
14   States’ lands, properties, and natural resources.
15          2.     By January 4, 2023, to the extent feasible and so as not to cause damage to
16   United States’ lands, properties, and natural resources, Arizona will remove all
17   previously installed shipping containers and associated equipment, materials, vehicles,
18   and other objects from the United States’ properties in the U.S. Border Patrol Yuma
19   Sector, including from lands over which the U.S. Bureau of Reclamation holds an
20   easement on the Cocopah Indian Tribe’s West Reservation. In taking such action,
21   Arizona will confer with representatives from Reclamation and U.S. Customs and
22   Border Protection for safety purposes, for sequencing removal, and to avoid and
23   minimize damage to United States’ lands, properties, and natural resources or disruption
24   to federal actions or activities within the Yuma Sector, including commencement of
25   engineered barrier construction by U.S. Customs and Border Protection in and around
26   the Morelos Dam area.
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1           3.      Arizona will, to the extent feasible so as not to cause damage to National
2    Forest System lands and resources, remove all previously installed shipping containers
3    and associated equipment, materials, vehicles, and other objects from the United States’
4    properties on National Forest System lands within the Coronado National Forest. In
5    taking such action, Arizona will confer with representatives from the U.S. Forest Service
6    for safety purposes, for sequencing removal, and to avoid and minimize damage to
7    United States’ lands, properties, and natural resources or disruption to federal actions or
8    activities within the Coronado National Forest. Discussions between Arizona and the
9    Forest Service for accomplishing this task will begin within one week.
10          4.      The Parties acknowledge that the safety and security of personnel working
11   to remove the shipping containers in accordance with Paragraphs 1 to 3 above are
12   important objectives in the removal of the shipping containers. No specific action by
13   any party is required if it is reasonably determined that these objectives are
14   compromised. Under such a situation, the points of contact from the state and federal
15   agencies will consult in good faith to resolve any issues. If such resolution is not
16   possible at that level, counsel for the Parties will discuss an appropriate course of action
17   to ensure the joint objectives of the entirety of this Stipulation.
18          5.      Each Party is responsible for any act or omission by itself or its employees,
19   agencies, contractors, or agents that results in the death of or injury to any person, or loss
20   of or damage to any real or personal property of any person.
21          6.      The Parties acknowledge and agree that this Stipulation is not a waiver of
22   any rights, claims, liabilities, or defenses.
23
24          IT IS HEREBY STIPULATED AND AGREED:
25
26   Respectfully submitted this 21st day of December, 2022,
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                                    GARY M. RESTAINO
1
                                    United States Attorney
2                                   District of Arizona
3                                   TODD KIM
4                                   Assistant Attorney General
                                    Environment & Natural Resources Division
5                                   United States Department of Justice
6
                                      /s/ Andrew A. Smith
7                                     ANDREW A. SMITH
                                      (NM Bar No. 8341)
8
                                      Senior Trial Attorney
9                                     Natural Resources Section
                                      c/o United States Attorney’s Office
10                                    201 Third Street, N.W., Suite 900
11                                    P.O. Box 607
                                      Albuquerque, New Mexico 87103
12                                    Phone: (505) 224 1468
                                      andrew.smith@usdoj.gov
13
14                                    SHAUN M. PETTIGREW
                                      (Calif. Bar No. 254564)
15                                    Senior Trial Attorney
16                                    Natural Resources Section
                                      c/o NOAA, Damage Assessment
17                                    7600 Sand Point Way, NE
                                      Seattle, Washington 98155
18                                    Phone: (206) 526-6881
19                                    shaun.pettigrew@usdoj.gov

20                                    TYLER M. ALEXANDER
21                                    (Calif. Bar No. 313188)
                                      Trial Attorney
22                                    Natural Resources Section
                                      PO Box 7611
23                                    Washington, DC 20044-7611
24                                    Phone: (202) 305-0238
                                      tyler.alexander@usdoj.gov
25
26                                    Attorneys for the United States

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28                                                                             3
     Case 2:22-cv-02107-SMB Document 17 Filed 12/21/22 Page 5 of 5




                                      /s/ Anni L. Foster (electronically approved
1
                                      12/21/2022
2                                     Anni L. Foster
                                      OFFICE OF ARIZONA GOVERNOR
3                                     DOUGLAS A. DUCEY
4                                     1700 West Washington Street
                                      Phoenix, Arizona 85007
5
6                                     /s/ Brett W. Johnson (electronically approved
                                      12/21/2022
7                                     Brett W. Johnson
8                                     Colin P. Ahler
                                      Ryan J. Regula
9                                     Charlene A. Warner
                                      SNELL & WILMER L.L.P.
10
                                      1 E. Washington St., Suite 2700
11                                    Phoenix, AZ 85004
12                                    Attorneys for Defendants Douglas A.
13                                    Ducey, Governor of the State of
                                      Arizona, et al.
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